                                Case 1:08-cr-00212-AWI Document 325 Filed 03/26/10
     AO 245B-CAED (Rev. 3/04) Sheet 1 - Am ended Judgm ent in a Crim inal Case
                                                                                        Page 1 of 6
                                                                             (NO TE: Identify Changes with Asterisks*)

                                                      United States District Court
                                                      Eastern District of California
                UNITED STATES OF AMERICA                                        AM ENDED JUDGM ENT IN A CRIM INAL CASE
                           v.                                                   (For Offenses Committed On or After November 1, 1987)
                   SUKHRAJ DHALIWAL                                             Case Number: 1:08CR00212-003
                                                                                W . SCOTT QUINLAN
Date of Original Judgment:                3/24/2010                             Defendant’s Attorney
(O r Date of Last Am ended Judgm ent)

Reason for Amendment:
[ ] Correction of Sentence on Remand (Fed R. Crim. P. 35(a))                  [ ] Modification of Supervision Conditions (18 U.S.C. §3563(c) or 3583(e))

[ ] Reduction of Sentence for Changed Circumstances                           [ ] Modification of Imposed Term of Imprisonment for Extraordinary and
      (Fed R. Crim. P. 35(b))                                                      Compelling Reasons (18 U.S.C.§3582(c)(1))
[ ] Correction of Sentence by Sentencing Court (Fed. R. Crim P. 35(c))        [ ] Modification of Imposed Term of Imprisonment for Retroactive
                                                                                  Amendment(s) to the Sentencing Guidelines (18 U.S.C.§3582(c)(2))
[U] Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)         [ ] Direct Motion to District Court Pursuant to [ ] 28 U.S.C. §2255
                                                                                  [ ] 18 U.S.C. §3559(c)(7),      [ ] Modification of Restitution Order
THE DEFENDANT:
[]          pleaded guilty to count(s):  .
[]          pleaded nolo contendere to counts(s)  which was accepted by the court.
[U]         was found guilty on count(s) ONE AND TW O of the Third Superseding Indictm ent after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                                        Date Offense                      Count
Title & Section                             Nature of Offense                                           Concluded                         Number(s)
21 USC 841(a)(1),                           CONSPIRACY TO DISTRIBUTE AND TO                             1/1/2000 - 6/20/2008              ONE
841(b)(1)(A), and 846                       POSSESS W ITH INTENT TO DISTRIBUTE
                                            COCAINE
21 USC 841(a)(1),                           ATTEMPTED POSSESSION W ITH INTENT                           1/1/2000 - 6/20/2008              TW O
841(b)(1)(A), and 846                       TO DISTRIBUTE COCAINE


        The defendant is sentenced as provided in pages 2 through 6 of this judgm ent. The sentence is im posed pursuant
to the Sentencing Reform Act of 1984.

[]          The defendant has been found not guilty on counts(s)                   and is discharged as to such count(s).

[]          Count(s)            (is)(are) dism issed on the m otion of the United States.

[]          Indictm ent is to be dism issed by District Court on m otion of the United States.

[U]         Appeal rights given.                                 []      Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of
any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay restitution, the defendant m ust notify the court and United States attorney of m aterial
changes in econom ic circum stances.
                                                              3/22/2010
                                                              Date of Im position of Judgm ent

                                                                         /s/ OLIVER W . W ANGER
                                                                         Signature of Judicial Officer

                                                                         OLIVER W . W ANGER, United States District Judge
                                                                         Nam e & Title of Judicial Officer

                                                                         3/26/2010
                                                                         Date
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     AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
     CASE NUMBER:              1:08CR00212-003                                                               Judgment - Page 2 of 6
     DEFENDANT:                SUKHRAJ DHALIW AL

                                                           IMPRISONMENT
        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a total
term of 120 Months .




[U]        The court m akes the following recom m endations to the Bureau of Prisons:
            The Court recom m ends the defendant participate in the 500-Hour Bureau of Prisons Substance Abuse Treatm ent
           Program . The Court recom m ends the institution located in Taft, California.


[U]        The defendant is rem anded to the custody of the United States Marshal.


[]         The defendant shall surrender to the United States Marshal for this district.
           [ ] at     on     .
           [ ] as notified by the United States Marshal.


[]         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           [ ] before on        .
           [ ] as notified by the United States Marshal.
           [ ] as notified by the Probation or Pretrial Services Officer.
           If no such institution has been designated, to the United States Marshal for this district.


                                                                  RETURN
I have executed this judgment as follows:




           Defendant delivered on                                   to

at                                          , with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL



                                                                                           By
                                                                                                       Deputy U.S. Marshal
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     AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
     CASE NUMBER:               1:08CR00212-003                                                                             Judgment - Page 3 of 6
     DEFENDANT:                 SUKHRAJ DHALIW AL


                                                      SUPERVISED RELEASE
           Upon release from imprisonment, the defendant shall be on supervised release for a term of 60 Months .


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, not to exceed four (4) drug tests per month.

[]         The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
           substance abuse. (Check, if applicable.)

[U]        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[U ]       The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]         The defendant shall register and comply with the requirements in the federal and state sex offender registration agency in the
           jurisdiction of conviction, Eastern District of California, and in the state and in any jurisdiction where the defendant resides, is
           employed, or is a student. (Check, if applicable.)

[]         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on
the attached page.

                                     STANDARD CONDITIONS OF SUPERVISION
1)      the defendant shall not leave the judicial district without permission of the court or probation officer;
2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
3)      the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)      the defendant shall support his or her dependants and meet other family responsibilities;
5)      the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
        acceptable reasons;
6)      the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)      the defendant shall refrain from excessive use of alcohol;
8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)      the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a
        felony unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of any
        contraband observed in plain view by the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court;
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.
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AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:               1:08CR00212-003                                                             Judgment - Page 4 of 6
DEFENDANT:                 SUKHRAJ DHALIW AL


                                 SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall submit to the search of his person, property, home, and vehicle by a United
              States probation officer, or any other authorized person under the immediate and personal
              supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
              Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
              residents that the premises may be subject to searches pursuant to this condition.

         2.   As directed by the probation officer, the defendant shall participate in an outpatient correctional
              treatment program to obtain assistance for drug or alcohol abuse.

         3.   As directed by the probation officer, the defendant shall participate in a program of testing (i.e.
              breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or alcohol.

         4.   The defendant shall not possess or have access to any paging device or cellular phone without
              the advance permission of the probation officer. The defendant shall provide all billing records
              for such devices, whether used for business or personal, to the probation officer upon request.

         5.   As directed by the probation officer, the defendant shall participate in a co-payment plan for
              treatment or testing and shall make payment directly to the vendor under contract with the
              United States Probation Office of up to $25 per month.

         6.   The defendant shall register, as required in the jurisdiction in which he resides, as a drug
              offender.
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AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  1:08CR00212-003                                                                               Judgment - Page 5 of 6
DEFENDANT:                    SUKHRAJ DHALIW AL


                                          CRIMINAL MONETARY PENALTIES
      The defendant m ust pay the total crim inal m onetary penalties under the Schedule of Paym ents on Sheet 6.

                                                    Assessm ent                           Fine                     Restitution
       Totals:                                       $ 200.00                           $ W aived                      $


[]     The determ ination of restitution is deferred until         . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determ ination.

[]     The defendant m ust m ake restitution (including com m unity restitution) to the following payees in the am ount listed below.

       If the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned paym ent, unless
       specified otherwise in the priority order or percentage paym ent colum n below. However, pursuant to 18 U.S.C. § 3664(i),
       all nonfederal victim s m ust be paid before the United States is paid.




Name of Payee                                       Total Loss*                    Restitution Ordered      Priority or Percentage


       TOTALS:                                           $                                $




[]     Restitution am ount ordered pursuant to plea agreem ent $

[]     The defendant m ust pay interest on restitution and a fine of m ore than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on Sheet
       6 m ay be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]        The court determ ined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirem ent is waived for the                  [ ] fine          [ ] restitution

       [ ] The interest requirem ent for the                 [ ] fine   [ ] restitution is m odified as follows:




[]     If incarcerated, paym ent of the fine is due during im prisonm ent at the rate of not less than $25 per quarter
       and paym ent shall be through the Bureau of Prisons Inm ate Financial Responsibility Program .

[]     If incarcerated, paym ent of restitution is due during im prisonm ent at the rate of not less than $25 per quarter
       and paym ent shall be through the Bureau of Prisons Inm ate Financial Responsibility Program .




  ** Findings for the total am ount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
com m itted on or after Septem ber 13, 1994, but before April 23, 1996.
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 AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
 CASE NUMBER:                 1:08CR00212-003                                                                              Judgment - Page 6 of 6
 DEFENDANT:                   SUKHRAJ DHALIW AL

                                                  SCHEDULE OF PAYMENTS


      Paym ent of the total fine and other crim inal m onetary penalties shall be due as follows:

 A    [U]           Lum p sum paym ent of $          200.00 due im m ediately, balance due

            []      not later than  , or
            []      in accordance with            [ ] C,   [ ] D,   [ ] E, or            [ ] F below; or

 B    [ ] Paym ent to begin im m ediately (m ay be com bined with               [ ] C,   [ ] D, or [ ] F below); or

 C    [ ] Paym ent in equal    (e.g., weekly, m onthly, quarterly) installm ents of $  over a period of               (e.g., m onths or years),
          to com m ence     (e.g., 30 or 60 days) after the date of this judgm ent; or

 D    [ ] Paym ent in equal    (e.g., weekly, m onthly, quarterly) installm ents of $ over a period of   (e.g., m onths or years),
          to com m ence     (e.g., 30 or 60 days) after release from im prisonm ent to a term of supervision; or

 E    [ ] Paym ent during the term of supervised release will com m ence within          (e.g., 30 or 60 days) after release from
          im prisonm ent. The court will set the paym ent plan based on an assessm ent of the defendant’s ability to pay at that tim e;
          or

 F    [ ] Special instructions regarding the paym ent of crim inal m onetary penalties:




 Unless the court has expressly ordered otherwise, if this judgm ent im poses im prisonm ent, paym ent of crim inal m onetary
 penalties is due during im prisonm ent. All crim inal m onetary penalties, except those paym ents m ade through the Federal Bureau
 of Prisons' Inm ate Financial Responsibility Program , are m ade to the clerk of the court.

 The defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.

 []   Joint and Several

 Defendant and Co-Defendant Nam es and Case Num bers (including defendant num ber), Total Am ount, Joint and Several
 Am ount, and corresponding payee, if appropriate:




 []   The defendant shall pay the cost of prosecution.

 []   The defendant shall pay the following court cost(s):

*[X] The defendant shall forfeit the defendant’s interest in the following property to the United States:
     The Prelim inary Order of Forfeiture dated 9/4/2009 is hereby incorporated in its entirety as to this defendant.
